Case 2:14-cv-13710-SFC-DRG ECF No. 68 filed 05/19/16   PageID.2122   Page 1 of 2




         IN THE UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

EQUAL EMPLOYMENT                        )
OPPORTUNITY COMMISSION,                 )
                                        )
                  Plaintiff,            )      CIVIL ACTION NO.
                                        )      2:14-CV-13710
            v.                          )      Hon. Sean F. Cox
                                        )      Magistrate Judge
R.G. & G.R. HARRIS FUNERAL              )      David R. Grand
HOMES, INC.,                            )
                                        )
                  Defendant.            )

 Plaintiff’s Reply to Defendant’s Counter Statement of Material
                       Facts Not in Dispute

                               Termination Claim

9.   Defendant is correct that Stephens worked for two weeks

     following her presentation of the letter to Rost, and that she

     intended to begin her vacation on August 15, 2013.

                                     Respectfully submitted,

                                     EQUAL EMPLOYMENT
                                     OPPORTUNITY COMMISSION


Dated: May 19, 2016                  s/ Dale Price
                                     DALE PRICE (P55578)
                                     Trial Attorney

                                     DETROIT FILED OFFICE
                                     Patrick V. McNamara
Case 2:14-cv-13710-SFC-DRG ECF No. 68 filed 05/19/16   PageID.2123   Page 2 of 2




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                          Certificate of Service

     I hereby certify that on May 19, 2016, I electronically filed the
foregoing with the clerk of the Court by using the CM/ECF system,
which will send a notice of electronic filing to all record attorneys.


                                   EQUAL EMPLOYMENT
                                   OPPORTUNITY COMMISSION


Dated: May 19, 2016                s/ Dale Price
                                   DALE PRICE (P55578)
                                   Trial Attorney




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